                  Case 1:16-cv-01692-SCJ Document 33 Filed 09/26/17 Page 1 of 3




                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF GEORGIA
                                              ATLANTA DIVISION

              ROBERT IACKSON, on his own
              behalf and others similarity
              situated,

                        Plaintiff,
                                                                 CIVI ACTION NO.
                                                                 1:15-CV-1692-SCI
                        v.

              EURAMAX MANAGEMENT
              GROU& LLC,

                        Defendant.


                                                     ORDER

                        This matter appears before the Court on Defendant Euramax Management

              Group, LLC's partial Motion for Summary Judgment on Plaintiff's Retaliation

              Claim (Doc. No. [27]).

                        The motion stands unopposed.l

                        The Eleventh Circuit has held that a district court "cannot base the entry

             of summary judgment on the mere fact that the motion was unopposed, but,

             rather, must consider the merits of the motion." United States v. One Piese of

             Real Prop. Located at 5800 SW 74th Ave., Miami, Fla.,363 F.3d 1099,1101 (11th


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                     More specifically, on May 25,20!7, Ptaintiff filed a response in which he stated that
             he "does not oppose the dismissal of his retaliation claim." Doc. No. [31], p. 1.



AO72A
(Rev.8/82)
                  Case 1:16-cv-01692-SCJ Document 33 Filed 09/26/17 Page 2 of 3




             Cir. 2004). The district must also "ensure that the motion itself is supported by

             evidentiary materialr." I{t In light of this authority and in making its ruling, the

             Court has deemed it proper to give due consideration to the entire merits of the

             motion for summary judgment and the evidence presented, even in the absence

             of opposition.

                    A review of the record shows that Defendant filed its motion, brief, and

             statement of undisputed material facts in support of its summary judgment

             motion on April 20, 2017. Doc. No. 27. Defendant's brief and statement of

             material undisputed facts cite to the evidence of record. I43 After reviewing the


                     2 The Court also considers the applicable sununary judgment standard as follows.
             A motion for summary judgment must be granted "if the movant shows that there is no
             genuine dispute as to any material fact and the movant is entitled to judgment as a matter
             of law." Fed. R. Civ. P. 56(a). Summary judgment is appropriate when the nonmovant "fails
             to make a showing sufficient to establish the existence of an element essential to that party's
             case, and on which that party will bear the burden of proof at trial." Cgl.otel C,qrp,v. Catre$t.
             477 U.5.317,322 (1986). On a motion for summary judgment, the moving party bears the
             initial responsibility of informing the court of the basis for its motion, and identifyi.g those
             portions of the pleadings, depositions, answers to interrogatories, and admissions on file,
             iogether with the affidavits, if any, which it believes demonstrate the absence gf-a gelt{ne
             iszue of material fact. Hicksg.n Co{p, v.,N. C{os.saTm Co., Inc., 357 F.3d 1256,1259 (11th Cir.
             2004). Where the moving party makes such a showing, the burden shifts to the non-movant,
             who must go beyond the pleadings and present affirmative evidence to show that a genuine
             issue of miterial fact does exist. Andqrpon v. Liberlv Lobby..Iqc.. 477 U.5.242,257 (1986).

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                      In the absence of opposition, the Court adopts Plaintiff's Statement of Material Facts
             (Doc. No. [28-1]) and incorporates said facts into this Order by reference Pursuant to Local
             Rule 56.1. Said Local Rule provides in relevant part that "[t]he Court will deem each of
             movant's facts as admitted unless the respondent" directly refutes, states a valid objection,
             or points out that the movant's citation is not supported, is immaterial, or otherwise not in




AO 72A-
(Rev.8/82)
                  Case 1:16-cv-01692-SCJ Document 33 Filed 09/26/17 Page 3 of 3




             record, this Court finds that Defendant has established the necessary evidentiary

             support for the grant of its unopposed motion for summary judgment. The

             Court finds that Defendant has met its burden of showing that it is entitled to

             summary judgment on Plaintiff's retaliation claim.

                    In lightof this Court's review of therecord, Defendant's unopposedpartial

             Motion for Summary Judgment [Doc. No. 27] and all supporting materials filed

             therewith, the Court finds that the motion is due to be GRANTED as to

             Plaintiff's retaliation claim in Count II of the Complaint (Doc. No. [1]).4

                           IT IS SO ORDERED, this              day of



                                               UNITED STATES DISTRICT JUDGE




             compliance with the Local Rules. LR 56.L(8)(2)(a)(2), NDGa.
                   a Count I (conceming unpaid overtime under the Fair Labor Standards Act (FLSA))
             remains pending.




AO 724
(Rev.8/82)
